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           Review of CT scans of subject Sig Sauer P-320’s and further
                          examination of Exemplars

     1) On March 17/18, 2021, a CT scan was performed on four subject Sig
        Sauer P-320’s. This examination was an attempt to view possible
        internal design and/or manufacturing defects that could not be viewed
        externally.

     2) All four subject P-320’s and three exemplars were also photographed
        afterwards.

     3) After examining the CT scans on all four subject P-320’s, I found the
        following design and manufacturing defects which appeared in all four
        P-320’s,(Kneski,Frankenberry,Guay and Mayes)

     4) (DESIGN DEFECT) A rear view of the striker foot channel in the slide
        showed an excessive gap vertically along the striker foot which allows
        the striker to have excess lateral movement within the channel from
        left to right causing the striker foot to not only make an improper
        connection to the sear, but also can cause the safety lock tab that
        makes contact with the parallel horizontal plain of the striker to be out
        of alignment.

     5) This misalignment could cause minimal contact between the safety
        lock tab and the rear vertical portion of the striker,which in turn can
        cause the safety lock tab to ride over the striker causing an
        uncommanded discharge as it moves upwards.

     6) (DESIGN DEFECT) Also, the CT scan showed that the safety lock
        has a poor fit between itself and the striker as the safety lock tab
        showed a top gap between itself and the striker body. This gap
        reduced contact between the two parts.
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     7) The safety lock also showed an excessive gap along its vertical plain
        which allowed the safety lock to move laterally also creating further
        misalignment between the striker and safety lock.
     8) (MANUFACTURING DEFECT) Enlargement photographs of the three
        exemplars safety lock tabs show significant unevenness of the
        contact surface of these tabs. This is also another contributing factor
        in an uncommanded discharge as the safety lock tab could ride over
        the vertical wall of the striker .

     9) (DESIGN DEFECT) The CT scan also showed lack of contact
        between the sear and striker foot as the overall height of the foot was
        not fully in contact with the overall height of the sear.

     10) (DESIGN DEFECT) On both non upgraded and upgraded models,
        the sear also did not make full contact with the striker foot as the
        body of the sear below its pivot point would “bottom out” prematurely
        not allowing the sear to rise fully to engage the entire striker foot
        interface.

     11) (DESIGN DEFECT) Another issue that the CT scan showed was
        that both sear spring coils drag along the sear housing which could
        prevent the sear from rising to make full contact with the striker foot
        as both springs bowed outward during their travel. These springs
        should have no contact except with the bottom of the sear as the sear
        travels up or down.

     12) (MANUFACTURING DEFECT) Also evident in photographs
        previously taken of exemplar #2, as well as the Frankenberry subject
        P-320, you can clearly see drag marks on the inner back edge of the
        sear and corresponding scrape marks along the center raised portion
        of the sear housing. The exemplar sear (photographed removed from
        the FCU), shows excess “rollover” on the rear portion which makes
        contact with the center spine of the sear housing during its travel up
        and down. All sears showed signs of different sizes within their
        respective FCU’s. This is due to the MIM process and varying
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        degrees of final shrinkage during the production process by Sig
        Sauers sub contractors.

     13) (DESIGN/MANUFACTURING DEFECTS) The combination of the
        sear springs dragging along the sear housing channel,the inner rear
        portion of the sear dragging along the center spine of the sear
        housing and the “bottoming out” below the sear pivot point can
        contribute to the lack of upward pressure needed to maintain proper
        contact against the striker foot overlap which would prevent the
        striker from slipping off of the sear and resulting in an uncommanded
        discharge.

     14) (DESIGN DEFECT) I also noticed in the CT scans of all four
        subject P-320's that the vertical alignment of the striker foot was
        farther to the left rather than being designed to be positioned directly
        over the center of the sear and springs. This misalignment can
        contribute to the lack of even spring pressure and the proper rise of
        the sear. Uneven spring pressure can result in the sear being able to
        also move slightly diagonally within its vertical channel.

     15) (DESIGN DEFECT) The Guay, Kneski and Mayes subject P-320’s
        also showed striker and sear overlap as previously discovered in the
        other examined P-320’s. This appears to be a consistent problem
        throughout all P-320 pistols.

     16) The Kneski and Mayes subject P-320’s were also missing their
        safety lever return springs which is needed to fully retract the safety
        lever after the trigger is released.This spring can also be considered
        a safety part as well, and its discontinued use by Sig Sauer also
        contributes to uncommanded discharges as the safety lever does not
        work as fully designed.

     17) MANUFACTURING DEFECT) Further examination of these
        P-320’s showed that the safety levers remained in the “out” position
        in direct contradiction to Sig Sauers statement on page 69 of their
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        “Sig P320 TECHNICAL ARMORER’S MANUAL”, that states,” This
        spring has been eliminated from current production. The safety
        lever uses gravity to rest in the lowered position.” This statement
        refers to the pistol being in the horizontal position (LOWERED).
        When the P-320 is holstered, it is in a vertical, slightly forward
        position. Then the safety lever would come “OUT” due to gravity, not
        down or lowered.

     18) During the CT scans, all four subject P-320 pistols were mounted
        in the CT scanner in a “muzzle down” orientation which approximates
        a holstered condition.

     19) (MANUFACTURING DEFECT) The Frankenberry subject P-320
        showed excessive drag marks on the MIM produced safety lock right
        side which was not in other P-320 models as the MIM safety lock was
        eventually replaced in newer models using a stamped part instead of
        a MIM part. Even the newer stamped version of the safety lock tab
        showed signs of deformation along their outer edges which again
        causes minimal contact between the tab and striker.

     20) (MANUFACTURING DEFECT) A closer examination of all three
        exemplar P-320’s striker bodies, (non upgraded and upgraded) it was
        noticed that along the horizontal plain where the safety lock tab rides,
        approximately 1.5mm forward of the vertical wall of the striker that
        that is supposed to prevent uncommanded discharges by hitting the
        safety lock tab during forward travel without a trigger press, has a
        slight raised surface, which can act as a “launch point” for the safety
        lock tab causing it to move upward thereby allowing the striker to
        make full contact with the chambered round causing an
        uncommanded discharge.

     21) After a careful review of the discovered design and manufacturing
        defects within all of the Sig Sauer model P-320 pistols that I have
        personally examined, I can to a reasonable degree of technical
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        certainty state that the four subject pistols discharged without
        manipulation of the triggering mechanism.

     22)     The evidence further supports, to a reasonable degree of
        technical certainty that the Frankenberry, Kneski, Mayes, and Guay
        subject Sig Sauer P-320 pistols were carried in a position comparable
        to that expected with a normal mode of common carry in or around
        the waist at the moment of the uncommanded discharge.

     23) Also observed in the three exemplar Sig Sauer P-320 pistols were
        the same design and manufacturing defects as were discovered in
        the subject P-320’s which, within a reasonable degree of technical
        certainty, will, at some point in time, cause an uncommanded
        discharge as it is apparent that all Sig Sauer P-320 pistols share the
        same defective parts.

        End of report.
